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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 5:02cr00255-025
                                             )
        Plaintiff,                           )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
GERALD MITCHELL,                             )
                                             )
        Defendant.                           )



        This matter was heard on June 7, 2012, upon the request of the United States Pretrial and

Probation Office for a finding that defendant had violated the conditions of his supervised

release.. The defendant was present and represented by Attorney Debra Migdal.

        The original violation report was referred to Magistrate Judge Limbert who issued a

Report and Recommendation on April 20, 2012 [Doc. 1400]. No objections were filed and this

Court independently found that defendant violated the conditions of supervised release as

follows:

               1) new law violations to which defendant entered plea of guilty

               to Having Weapons Under Disability, Possession of Marijuana

               and Criminal Forfeiture.

        The Court, having considered the factors in Sec. 3553(a), commits defendant to the

Bureau of Prisons for a term of 18 months with credit for time served in federal custody on the

instant violations. Upon release from incarceration defendant’s period of supervised release
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shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: June 7, 2012                               s/ James S. Gwin
                                                  JAMES S. GWIN
                                                  UNITED STATES DISTRICT JUDGE
